Case 2:20-cv-00657-JLB-KCD Document 86 Filed 08/29/22 Page 1 of 9 PageID 4950




                     IN THE UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA

AUBREY FERRAO, TINA FERRAO
AND MARK J WOODWARD, AS
TRUSTEE OF LAND TRUST
DATED APRIL 5, 1987,
    Plaintiffs,                                       CASE NO. 20-CV-657-FTM-66MRM

vs.

ACE INSURANCE COMPANY OF
THE MIDWEST,
     Defendant.          /

PLAINTIFFS’ MOTION TO EXCLUDE ANY POTENTIAL1 TESTIMONY BY
 DEFENDANT’S PURPORTED EXPERT, BART BARRETT, REGARDING
    THE AVAILABILITY OF “MATCHING” REPLACEMENT SLATE

           Plaintiffs, Aubrey Ferrao, Tina Ferrao and Mark J Woodward, as Trustee of

Land Trust Dated April 5, 1987 (“Plaintiffs”), by and through undersigned counsel,

hereby moves this Court to exclude any potential testimony by purported expert Bart

Barrett of Nelson Forensics, LLC (“Barrett”), disclosed in this action by Defendant,

ACE Insurance Company of the Midwest (“ACE”), regarding the availability of

“matching” replacement slate tile and as grounds, states:

      I.      INTRODUCTION & OPERATIVE FACTS.

           This lawsuit involves a claim for breach of an insurance policy in which ACE

has failed and refused to provide coverage for property damages suffered during

Hurricane Irma. Specifically, Plaintiffs claim the slate roof over their residence in the


1
 This motion is being written in an abundance of caution, because it is not expected that Barrett will
actually be offering any opinion on the availability of matching slate, especially in the quantities
needed to perform ACE’s proposed repairs.


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Case 2:20-cv-00657-JLB-KCD Document 86 Filed 08/29/22 Page 2 of 9 PageID 4951




Port Royal community in Naples, Florida must be replaced due to extensive

windstorm damage suffered during Hurricane Irma. Plaintiffs’ experts contend that

the damaged areas exceed 25% of entire square footage of the roof, requiring a full

replacement. ACE has refused to acknowledge that the slate roof must be replaced,

instead contending that the roof can be repaired. Barrett is one five (5) cumulative

experts presented by ACE in support of its position that the roof can be repaired and

achieve conformity to pre-storm conditions.2 Interestingly, however, Barrett adopts the

opinion of another Plaintiffs’ expert, Joseph Kelly, that all of the damage suffered to

the roof was a result of windstorm damage from Hurricane Irma.3 See Exhibit B, Tr.

159:24-160:22. 4

       In order for ACE to avoid insurance coverage for the full cost of replacing the

roof, it must not only prove damage less than 25% of the area of the roof and that

repairs can be undertaken to make the roof conform with pre-storm conditions, but

also that “matching” replacement slate tile is available in sufficient quantity to address

all areas that need to be repaired.


2
 ACE has designated the following experts: (1) Bart B. Barrett, P.E. of Nelson Forensics, LLC; (2)
Chad Brandon of JS Held LLC; (3) Brian Waller of Consult 1 LLC; (4) Joseph Kelly of WTS; and (5)
Curt Furbee of Crowther Roofing & Sheet Metal of Florida.
3
  Joseph Kelly issued a report entitled “800 Spyglass Lane, Naples, Florida – Survey of Roofing Assets
& Hurricane Damage Assessment” (“WTS Report”) which was included as support for the Hurricane
Irma Distress Evaluation report issued by Barrett. A copy of the WTS Report, without exhibits, is
attached hereto as Exhibit A. Therein, Kelly unequivocally states: “WTS chooses to attribute all noted
tile damages (excluding pitting or discoloration due to iron oxidation) to hurricane wind conditions.”
See Exhibit A p. 5 (emphasis added).
4
  A copy of Barrett’s deposition transcript has been filed. [DE 63-1]. Relevant excerpts from that
transcript are attached hereto as Composite Exhibit “B”. Tr. refers to the deposition transcript page
and line number.


                                                  2
Case 2:20-cv-00657-JLB-KCD Document 86 Filed 08/29/22 Page 3 of 9 PageID 4952




         During his June 1, 2022 deposition, Barrett was asked questions about the

availability of “matching” replacement slate for ACE’s proposed repairs. Barrett

admitted that he is not qualified to render any opinion and did not research on the

availability of matching slate in the sufficient quantities needed for ACE’s proposed

repairs. Accordingly, to the extent Barrett is asked to offer any opinions on the

availability of “matching” replacement slate tile for ACE’s proposed repairs, his

opinions should be disallowed as they will not meet the requirements for admissibility.

   II.      STANDARD FOR ADMISSION OF EXPERT TESTIMONY.

         It is well established that a district judge has broad discretion in determining

whether to exclude expert testimony. See United States v. US Infrastructure, Inc., 576 F.3d

1195, 1212 (11th Cir. 2009); Saewitz v. Lexington Ins. Co. Co., 133 F. App’x 695, 700

(11th Cir. 2005). Rule 702 of the Federal Rules of Evidence governs the admissibility

of expert testimony. Rule 702 provides:

               A witness who is qualified as an expert by knowledge, skill,
               experience, training, or education may testify in the form of
               an opinion or otherwise if:
               (a) the expert’s scientific, technical, or other specialized
               knowledge will help the trier of fact to understand the
               evidence or to determine a fact in issue;
               (b) the testimony is based on sufficient facts or data;
               (c) the testimony is the product of reliable principles and
               methods; and
               (d) the expert has reliably applied the principles and
               methods to the facts of the case.

Fed. R. Evid. R. 702.14 (2022).

         Under Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 597 (1993), trial judges

act as gatekeepers to exclude irrelevant and unreliable expert testimony. See also,


                                             3
Case 2:20-cv-00657-JLB-KCD Document 86 Filed 08/29/22 Page 4 of 9 PageID 4953




Kilpatrick v. Breg, Inc., 613 F.3d 1329, 1335 n.7 (11th Cir. 2010). In determining

whether expert testimony is admissible as part of its “gatekeeper” duties, the Court

must consider whether:

             (1) the expert is qualified to testify competently regarding
             the matters he intends to address; (2) the methodology by
             which the expert reaches his conclusions is sufficiently
             reliable as determined by the sort of inquiry mandated in
             Daubert; and (3) the testimony assists the trier of fact,
             through the application of scientific, technical, or
             specialized expertise, to understand the evidence or to
             determine a fact in issue.

United States v. Frazier, 387 F.3d 1244, 1260 (11th Cir. 2004) (en banc); Rink v.

Cheminova, Inc., 400 F.3d 1286 (11th Cir. 2005).

      The gatekeeping function applies to all expert testimony, not just scientific

testimony. Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 147-49 (1991) (quoting

Fed. R. Evid. 702). When evaluating the reliability of non-scientific, experienced-

based testimony, a court must consider: “(1) whether the expert’s theory can be and

has been tested; (2) whether the theory has been subjected to peer review and

publication; (3) the known or potential rate of error of the particular . . . technique;

and (4) whether the technique is generally accepted in the … community.” Frazier, 387

F.3d at 1262. Moreover, “if the witness is relying solely or primarily on experience,

then the witness must explain how that experience leads to the conclusion reached,

why that experience is a sufficient basis for the opinion, and how that experience is

reliably applied to the facts.’” Id. at 1261 (emphasis in original). Indeed, “[t]he trials




                                            4
Case 2:20-cv-00657-JLB-KCD Document 86 Filed 08/29/22 Page 5 of 9 PageID 4954




court’s gatekeeping function requires more than simply ‘taking the expert’s word for

it.’” Id. (quoting Fed. R. Evid. 702 Advisory Committee Note (two thousand)).

       The Court’s gatekeeping role requires it to undertake an exacting analysis of the

proffered expert testimony “to ensure that speculative, unreliable expert testimony

does not reach the jury.” McCorvey v. Baxter Healthcare Corp., 298 F.3d 1253, 1256 (11th

Cir. 2002). It is Defendant’s burden to show that the proffered testimony of its experts

satisfies all three (3) prongs of Fed. R. Evid. 702 and Daubert. Hendrix ex rel. G.P. v.

Evenflo Co., Inc., 609 F.3d 1183, 1194 (11th Cir. 2010). “Presenting a summary of a

proffered expert’s testimony in the form of conclusory statements devoid of factual or

analytical support is simply not enough” to meet that burden, and Rule 702 “requires

more than the ipse dixit of the expert.” Cook ex rel. Estate of Tessier v. Sheriff of Monroe

Cnty., Fla., 402 F.3d 1092, 1111 (11th Cir. 2005) (quotation and citation omitted); see

also, Michigan Millers Mut. Ins. Corp. v. Benfield, 140 F.3d 915, 921 (11th Cir. 1998)

(“[N]othing in either Daubert or the Federal Rules of Evidence requires a district court

to admit opinion evidence which is connected to existing data only by the ipse dixit of

the expert”); Guinn v. AstraZeneca Pharm. LP, 602 F.3d 1245, 1255-56 (11th Cir. 2010).

       For the reasons set forth more fully herein, to the extent Barrett is asked to offer

any opinions on the availability of “matching” replacement slate tile for ACE’s

proposed repairs at the sufficient quantities for ACE’s proposed repairs, his opinions

should be disallowed as they will not meet the requirements for admissibility.




                                             5
Case 2:20-cv-00657-JLB-KCD Document 86 Filed 08/29/22 Page 6 of 9 PageID 4955




   III.   ANY POTENTIAL TESTIMONY FROM BARRETT ON THE
          AVAILABILTY OF MATCHING REPLACEMENT SLATE SHOULD
          BE EXCLUDED FROM THE TRIAL IN THIS ACTION.

       As stated above, it is not expected that Barrett will actually be offering any

testimony on “matching” slate, especially in the sufficient quantities needed to perform

ACE’s proposed repairs. In an abundance of caution, to the extent Barrett is asked any

opinions on the “matching” slate for ACE’ proposed repairs, his testimony should be

excluded because he is admittedly not qualified, and also he did no research on the

availability of “matching” replacement slate in the sufficient quantities needed for

ACE’s proposed repairs.

          A. Barrett admits he is not qualified to render any opinion on the
             availability of matching replacement slate for ACE’s proposed repairs.

       During his deposition, Barrett was asked about the need for matching slate in a

repair process. Barrett agreed, stating “I think in relation to most roofing cases and

distress tiles there is an issue relating to matching that has to be addressed.” See Exhibit

B, Tr. 153:13-17. As a benchmark to what he is looking for when replacing slate in a

repair, Barrett said he saw “multiple remedial tiles that have been installed on this roof

[previously] that did not match” and “I would want to see matching tiles of roof that

I was repairing.” See Exhibit B, Tr. 154:4-15. With that foundation, questions were

asked about his knowledge of the availability of matching replacement slate needed

for ACE’s proposed repairs. Repeatedly, Barrett admitted that he was not an expert in

the procurement of matching slate:




                                             6
Case 2:20-cv-00657-JLB-KCD Document 86 Filed 08/29/22 Page 7 of 9 PageID 4956




             Q: Do you recall that in terms of replacement slate that there is a
                requirement to replace all slates that match the existing slates
                in type, length, width, thickness, shape, color and, if
                necessary, for a good match, age?

             A: So, I know that it’s good practice to the degree that it can be
                accomplished. But, once again, I would go back to the slate
                expert to procuring the appropriate slate for repairs that
                should be performed at this structure.

See Exhibit B, Tr. 243:1-10 (emphasis added).

      Based upon Barrett’s admission of not being an expert on procuring matching

slate, Barrett should be excluded from testifying at trial on the relevant issue of

“matching.” Frazier, 387 F.3d at 1262; Rink, 400 F.3d 1286.

          B. Barrett did not research the availability of matching slate in the
             sufficient quantities needed for ACE’s proposed repairs.

      Applying Florida law, and per the admissions of ACE’s corporate

representative and the terms of the Policy, ACE needs to locate matching in the

quantities needed for ACE’s proposed repairs. See Womack Deposition Transcript

[DE 71-1 Tr. 117:20-118:13]; the Policy [DE 80-12 p. 75 of 148, ¶13]; see also, Fla. Stat.

§626.9744 (2022); and CMR Constr. & Roofing, LLC v. ASI Preferred Ins. Corp., 2021 WL

877560, *8 (M.D. Fla. 2021) (matching is required if the policy so provides.). Barrett

is no help to ACE in this regard. When questioned about the availability of matching

slates to selectively replace the 1,200 slate pieces found to have suffered windstorm

damage from Hurricane Irma, Barrett testified “We did not perform that research.”

See Exhibit B, Tr. 170:24-171:3. And, with Barrett’s agreement that the 1,200 slate

pieces “should not be construed as an assessment of the total damages of the structure



                                            7
Case 2:20-cv-00657-JLB-KCD Document 86 Filed 08/29/22 Page 8 of 9 PageID 4957




at the time of site observation” or any “hidden defects that may exist that were not

readily visible,” see Exhibit B, Tr. 159:24-160:22, and also does not include the 3:1 tile

ratio needed in stock due to breakage, see Exhibit B, Tr.. 153:18-154:3, even 1,200

slate pieces is woefully insufficient.

       Doing no research on the availably of matching slate in the sufficient quantity

to perform ACE’s proposed repairs makes any opinion of Barrett on “matching”

unreliable. Accordingly, Barrett should be excluded from testifying at trial on the

relevant issue of “matching.” Frazier, 387 F.3d at 1262; Rink, 400 F.3d 1286.

   IV.    CONCLUSION.

       WHEREFORE, for the foregoing reasons, Plaintiffs respectfully request that to

the extent ACE relies on the opinions of Barrett regarding the availability of

“matching” replacement slate tile, Barrett’s opinions and testimony should be

excluded from the trial in this action, and that Plaintiffs be granted all other relief that

is just and proper.




                                             8
Case 2:20-cv-00657-JLB-KCD Document 86 Filed 08/29/22 Page 9 of 9 PageID 4958




                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on August 29, 2022, a true and correct copy of the
foregoing was served via CM/ECF on all counsel or parties of record:

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                                      9
